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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF CALIFORNI

VIRGINIA DUNCAN, et al.,
Plaintiffs,
v.
XAVIER BECERRA, in his official
capacity as Attorney General of the

State of California,

Defendants.

 

 

 

17-cv-1017-BEN-JLB

ORDER GRANTING JOINT
MOTION TO STAY LITIGATION
OF ATTORNEYS’ FEES AND
COSTS PENDING APPEAL

The Court has before it the Parties’ Joint Motion to Stay Litigation of

Attorneys’ Fees and Costs Pending Appeal. Having considered the Motion and

good cause appearing therefor, the Court is of the opinion that the Parties’ Motion

should be GRANTED.

It is therefore ORDERED that all proceedings regarding attorneys’ fees or

costs in this action shall be stayed until 30 days after the completion of all appellate

proceedings.

Dated: Uf! CMF

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ORDER GRANTING JOINT MOTION TO EXTEND TIME

17cv1017

 
